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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
NEWNAN DIVISION

E.F., a minor, by and through,
LAQUARBASHAUN FORD, his
mother,

Plaintiff,

Vv.
CIVIL ACTION FILE
TROUP COUNTY SCHOOL NO. 3:19-ev-141-TCB
SYSTEM, DAVID SHUMATE, in his
individual and official capacity, and
ALTON WHITE, in his individual and
official capacity,

Defendants.

 

 

 

DECLARATION OF W. ALTON WHITE, JR.

 

 

STATE OF GEORGIA
COUNTY OF TROUP

COMES NOW, W. ALTON WHITE, JR. and in accordance with 28 U.S.C.
§ 1746, hereby declares as follows:

1.

My name is W. Alton White. | am over the age of twenty-one (21). | am
competent to make this Declaration and have personal knowledge of the
information set forth herein. | understand that this Declaration is for use in
connection with the above-captioned civil action, and | give it freely for that

purpose.
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2.

| am employed by the Troup County School District as principal of
LaGrange High School. | have held this position since March 1, 2016. My
employment duties include supervision and oversight of school administration,
faculty, students, and school records.

o:

E.F. was assigned to attend LaGrange High School, his zoned school, as a
student within the Troup County School District. During his time at LaGrange
High School, £.F. was disciplined on multiple occasions for fighting and
threatening and intimidating conduct. As a result of his disciplinary issues, E.F.
was assigned at times to The HOPE Academy, an alternative school within the
Troup County School District.

4,

E.F. attended the HOPE Academy from August 9, 2018 through December
4, 2018 during the 2018-19 school year. He then reenrolled in LaGrange High
School on December 5, 2018. On or about December 7, 2018, E.F. was charged
with violating Troup County Board of Education Policy JCDA STUDENT
BEHAVIOR CODE AND DISCIPLINARY PROTOCOL Regulation JCDA, 7.10
(Participation in Gang Activity) for his conduct at LaGrange High School. A true
and correct copy of Policy JCDA, which is kept and maintained in the ordinary
course of business by the Troup County School District, is attached hereto as

Exhibit 1. Section 7.10 of the policy provides:
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No student shall actively participate in any street gang with

knowledge that its members engage in or have engaged in a pattern

of gang activity and who willfully promotes, furthers, or assists in any

criminal conduct or violation of school rules, or represents himself or

herself as being a gang member.
o

E.F.'s conduct was presented to a disciplinary hearing tribunal. On
December 18, 2014, the tribunal, which having considered the evidence
presented at the hearing, found that E.F. did commit the offense of Participation
in Gang Activity on or about Friday, December 7, 2018 when he was observed by
the School Resource Officer posing for a number pictures while making hand
gestures consistent with those that represent a gang. A true and correct copy of
the decision of the disciplinary hearing tribunal, which is kept and maintained in
the ordinary course of business of the Troup County School District, is attached
hereto as Exhibit 2.

6.

The proceedings of a hearing tribunal are governed by Troup County
Board of Education Policy JCEB: STUDENT HEARING PROCEDURE. In
connection with the procedures established by this policy, |, as principal, am
generally required to send a Notice of Charge and Hearing to the student alleged
to have violated school policies. In the Notice, | outline the procedures that
govern the hearing in accordance with Paragraph 3(a) of the Policy JCEB. The

procedures established under JCEB permit a student to present evidence in his

or her defense; cross-examine witnesses, and be represented by counsel. | also

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include in the notice a list of potential witnesses that will be called to testify, and a
brief statement of the matters asserted and what the charges against the student
are. A true and correct copy of the relevant policy, which is kept in the ordinary
course of business by the Troup County School District is attached hereto as
Exhibit 3.

7.

As a result of the tribunal's finding that E.F. committed the offense of
Participation in Gang Activity, he was disciplined by being assigned to The HOPE
Academy for the remainder of the 2018-19 school year. [See Exhibit 2, p. 3].

8.

Following the Spring Semester of the 2018-19 school year, E.F. attended

summer school at LaGrange High School. E.F. completed his summer school

session on July 10, 2019.

9,

On July 15, 2019, one of my assistant principals, James Bozeman,
informed me that he saw a video posted to Facebook over the previous weekend
that depicted questionable conduct by E.F. and others. Bozeman provided me a
link to the video, and | viewed it. Because of the questionable conduct in the
video, | referred the matter to Lane Hamer, the School Resource Officer for

LaGrange High School. Following Hamer's consultation with the Special

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Investigation Unit of the LaGrange Police Department, Hamer informed me that
the hand signs and gestures made by E.F. in the video were gang-related and
that the gun(s) in the video had the appearance of a real handgun.

10.

Based on my viewing of the video and the information provided to me by
Hamer, | charged E.F. with violating Troup County Board of Education Policy
JCDA STUDENT BEHAVIOR CODE AND DISCIPLINARY PROTOCOL
Regulation JCDA, 7.10 (Participation in Gang Activity) and 12.08 (Outside
Conduct). A true and correct copy of Policy JDCA, which is kept and maintained
in the ordinary course of business by the Troup County School District and
includes Section 12.08, is attached hereto as Exhibit 1. Section 12.08 of the
policy provides: "A student who commits any act or exhibits conduct outside of
school hours or away from school which may adversely affect the educational
process or endanger the health, property, safety, morals, or well-being of other
students, teachers, or employees within the school system may be disciplined
hereunder."

11.

E.F.'s conduct was presented to a disciplinary hearing tribunal. On
September 4, 2019, the tribunal, which having considered the evidence
presented at the hearing, found that E.F. did commit the offenses of Participation
in Gang Activity and Outside Conduct in the video published on YouTube. A true

and correct copy of the decision of the disciplinary hearing tribunal, which is kept

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and maintained in the ordinary course of business by the Troup County School
District, is attached hereto as Exhibit 4.
12.

As a result of the tribunal's findings that E.F. committed the identified
offenses, E.F. was expelled from LaGrange High School for the remainder of the
Fall semester of the 2019-20 school year. While expelled, E.F. is prohibited from
attending any curricular or extra-curricular activities within the Troup County
School District. E.F. was further disciplined by being assigned to The HOPE
Academy for the Spring semester of the 2019-20 school year.

13.

Despite the expressed prohibition from attending any Troup County School
District functions while expelled, E.F. attending a high school football game at
Callaway Stadium for a game between two Troup County School District high
schools on September 20, 2019. While at the Troup County School District event
in violation of the terms of his expulsion, E.F. was arrested for disorderly conduct.

14,

E.F. currently needs seven (7) more credits to graduate high school within
the Troup County School District. Although E.F. is currently expelled for the Fall
semester of the 2019-20 school year, he is permitted to earn credits online
through the Georgia Cyber Academy or Georgia Connections Academy free of
charge. It is my understanding that the Georgia Cyber Academy also provides

students with computer and internet access if needed. The Troup County School

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District accepts transfer credits from both the Georgia Cyber Academy and the
Georgia Connections Academy.
IS)

Regardless of E.F.'s access to online options for obtaining school credits
during the Fall semester of the 2019-20 school year, it is possible for him to earn
the seven (7) credits needed to graduate during the Spring semester of the 2019-
20 school year at The HOPE Academy. If E.F. attends The HOPE Academy for
the Spring semester of the 2019-20 school year and obtains the remaining seven
(7) credits during that semester, he is able to graduate on time with his peers at

the end of the 2019-20 school year.

16.

LaGrange High School has had on-going issues with gang-related activity
since | began as principal on May 1, 2016 and even before that date. In January
of 2016, on the date of my interview for the principal position, it was learned that
a gang member brought a gun to LaGrange High School with the intent to shoot
someone. Since that time, the LaGrange High School administration continues to
actively combat gang-related activity by students attending LaGrange High
School.

| have read this Declaration comprised of sixteen (16) separately
numbered paragraphs, and | declare under penalty of perjury that the foregoing

is true and correct.

[7]
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Executed on this 21st day of October, 2019.

 

W. ALTON wale JR.

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Policy JCDA: Student Code of Conduct Troup County Schools
Original Adopted Date: 01/01/1900 | Last Revised Date: 07/17/2014 Status: ADOPTED
A. STATEMENT OF PURPOSE - The Troup County Board of Education strongly believes

 

that appropriate behavior and conduct of all students in the Troup County Schools is
necessary to create a proper learning environment, to maintain good order and discipline,
and to teach and instill in all students the attitude of being law abiding citizens. The rules,
regulations, and due process procedures set forth herein are designed to guide all students
in the exercise of their duty of appropriate behavior.

B. EFFECTIVE TIME AND LOCATION - These rules are effective during the following
times and in the following places:

1. On the school grounds during and immediately before or immediately after school
hours or off school grounds while enroute to or from school.

2. On the school grounds at any other time when the school is being used by a school
group or at school related functions.

3. Off the school grounds at a school activity, function, or event.

4, Enroute to and from school on a school bus or other school vehicle or while waiting
off school grounds at a designated school bus stop for a school bus to transport a student to
or from school or a school activity.

5. Off school grounds when the prohibited conduct is directed, because of a school-
related connection, against the person, family, property, privacy or tranquility of an
employee of the Troup County Board of Education.

6. Apply to conduct by student whether directed to or committed upon another student
or a teacher, administrator, or other school personnel or toward persons attending school
related functions.

7. Apply to any off-campus behavior of a student which could result in the student
being criminally charged with a felony and which makes the student’s continued presence at
school a potential danger to persons or property at school or which disrupts the educational
process.

These offenses are applicable to include acts against students, teachers, administrators, bus
drivers, or other school personnel, as well as persons legitimately on school property or
attending school related functions.

Cc, STUDENT BEHAVIOR CODE

 

Accordingly, the following listing of offenses and conduct are declared to be prohibited by all
students enrolled in the Troup County Schools. Violation of this policy shall result in
disciplinary actions and may include appropriate hearings and review, and the suspension,
short or long term, or the expulsion of a student from the school in accordance with Troup
County Board of Education policies.

EXHIBIT

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OFFENSES INVOLVING THE PERSON
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1.01 Simple Assault - A student commits the offense of simple assault when he/she either:
(1) Attempts to commit a violent injury to the person of another; or (2) Commits an act
which places another in reasonable apprehension of immediately receiving a violent injury.

1.02 Aggravated Assault (Mandatory Hearing Offense) - A student commits the offense of
aggravated assault when he/she assaults: (1) with intent to rob; or (2) with a deadly
weapon or with any object, device, or instrument which, when used offensively against a
person, is likely to or actually does result in serious bodily injury.

1.03 Simple Battery - A student commits the offense of simple battery when he/she either:
(1) Intentionally makes physical contact of an inappropriate, insulting, or provoking nature
with the person of another; or (2) Intentionally makes physical contact or causes physical
harm to another unless such physical contact or harm was in defense of himself or herself.

1.04 Battery (Mandatory Hearing Offense) - A student commits the offense of battery
when he/she intentionally causes substantial physical harm or visible bodily harm to
another. The term "visible bodily harm" means bodily harm capable of being perceived by a
person other than the victim and may include, but is not limited to, substantially blackened
eyes, substantially swollen lips or their facial or body parts, or substantial bruises to body
parts.

 

1.05 Aggravated Battery (Mandatory Hearing Offense) - A student commits the offense of
aggravated battery when he/she maliciously causes bodily harm to another by depriving him
of a member of his body, by rendering a member of his body useless, or by seriously
disfiguring his body or a member thereof.

1.06 Hazing (Mandatory Hearing Offense) - A student commits the offense of hazing
when he/she subjects another student to an activity which endangers or is likely to
endanger the physical health of a student, regardless of a student's willingness to participate
in such activity, in connection with or as a condition or precondition of gaining acceptance,
membership, office, or other status in a school organization.

1.07 Affray - A student who commits the offense of affray when he/she fights with one or
more other persons in a public place to the disturbance of the school tranquility.

1.08 Bullying - A student commits the offense of bullying when the student commits an act
which occurs on school property, on school vehicles, at designated school bus stops, or at
school related functions or activities, or by use of data or software that is accessed through a
computer, computer system, computer network, or other electronic technology of a local
school system, that is: (1) any willfully attempt or threat to inflict injury on another person,
when accompanied by an apparent present ability to do so; (2) any intentionally display of
force such as would give the victim reason to fear or expect immediate bodily harm; or (3)
any intentional written, verbal, or physical act, which a reasonable person would perceive as
being intended to threaten, harass, or intimidate, that: (a) causes another person
substantial physical harm within the meaning of Code Section 16-5-23,1 or visible bodily
harm as such term is defined in Code Section 16-5-23.1; (b) has the effect of substantially
interfering with a student’s education; (c) is so severe, persistent, or pervasive that it
creates an intimidating or threatening educational environment; or (d) has the effect of
substantially disrupting the orderly operation of the school.

1.09 Cyberbullying - Cyberbullying is defined as:
A. A student commits the offense of cyberbullying when the student uses any

electronic communication, by individuals or groups to: (1) make a true threat against a

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student or school employee; (2) materially disrupt school operations; or (3) substantially
impinge on the rights of another student such as, but not limited to: creating reasonable
fear or harm to the student’s person or property; creating a substantially detrimental effort
on the student’s physical or mental health; substantially interfering with a student’s
academic performance or interfering with the student’s ability to participate in or benefit
from the services, activities, or privileges provided by the school; or being so severe,
persistent, or pervasive as to cause severe emotional distress.

B. Includes conduct that is based on, but not limited to, a student’s actual or perceived
race, color, national origin, gender, religion, disability, sexual orientation or gender identity,
distinguishing physical or personal characteristic, socioeconomic status; or association with

any person identified in Section I (2)(b)(i)-(ix).

Cc, As used herein, the term “electronic communications” means communications
through any electronic device, including, but not limited to, computers, telephone, mobile
phone, and pagers, and any type of communication, including, but not limited to, emails,
instant messages, text messages, pictures messages, and websites.

D. Jurisdiction for Cyberbullying: (1) No student shall be subjected to cyberbullying by an
electronic communication that bears the imprimatur of the school regardless of whether such
electronic communication originated on or off the school’s campus. (2) The school shall have
jurisdiction to prohibit cyberbullying that originates on the school’s campus if the electronic
communication was made using the school’s technological resources or the electronic
communication was made on the school’s campus using the student’s own personal
technological resources. (3) The school shall have jurisdiction to prohibit cyberbullying that
originates off the school’s campus if: (a) it was reasonably foreseeable that the electronic
communication would reach the school’s campus; or (b) there is a sufficient nexus between
the electronic communication and the school which includes, but is not limited to, speech
that is directed at a school-specific audience, or the speech was brought onto or accessed on
the school campus, even if it was not the student in question who did so.

1.10 Verbal/Visual Assault - A student commits the offense of verbal/visual assault when
he/she either: (1) Utters a racial slur or implied racial slur; (2) makes an insensitive or
insulting comment related to socio-economic status; (3) displays or wears symbols or
emblems which is commonly known to be offensive, cause a student to feel belittled, inferior
or embarrassed (4) makes disparaging, belittling or disrespectful comments about another
student or his/her family.

OFFENSES INVOLVING THEFT

2.01 Theft by Taking - A student commits the offense of theft by taking when he/she
unlawfully takes or, being in lawful possession thereof, unlawfully appropriates any property
of another with the intention of depriving him of the property, regardless of the manner in
which the property is taken or appropriated.

2.02 Theft of Lost or Mislaid Property - A student commits the offense of theft of lost or mislaid
property when he/she comes into control of property that he knows or learns to have been
lost or mislaid and appropriates the property to his own use without first taking reasonable
measures to restore the property to the owner.

2.03 Theft by Receiving Stolen Property - A student commits the offense of theft by receiving
stolen property when he/she receives, disposes of, or retains stolen property which he
knows or should know was stolen unless the property is received, disposed of, or retained

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with intent to restore it to the owner. "Receiving" means acquiring possession or control of
the property.

2.04 Theft by Extortion (Mandatory Hearing Offense) A student commits the offense of
theft by extortion when he/she unlawfully obtains property of or from another person by
threatening to: (1) Inflict bodily injury on anyone or commit any other criminal offense; (2)
Accuse anyone of a criminal offense; (3) Disseminate any information tending to subject any
person to hatred, contempt, or ridicule; or (4) Testify or provide information or withhold
testimony or information with respect to another's legal claim or defense.

OFFENSES INVOLVING ROBBERY

3.01 Robbery (Mandatory Hearing Offense) - A student commits the offense of robbery
when, with intent to commit theft, he/she takes property of another from the person or the
immediate presence of another: (1) By use of force; (2) By intimidation, by the use of threat
or coercion, or by placing such person in fear of immediate serious bodily injury to himself or
to another; or (3) By sudden snatching.

3.02 Armed Robbery (Mandatory Hearing Offense) - A student commits the offense of
armed robbery when, with intent to commit theft, he/she takes property of another from the
person or the immediate presence of another by use of an offensive weapon, or any replica,
article, or device having the appearance of such weapon.

OFFENSES INVOLVING WEAPONS

4.01 Weapons, Dangerous Instruments, or Explosive Compounds (Mandatory Hearing Offense) -
No student shall possess, handle, carry or have under his/her control any weapon or
explosive compound to include fireworks of any kind. The term "weapon" means and
includes any pistol, revolver, or any weapon designed or intended to propel a missile of any
kind, or any dirk, bowie knife, switchblade knife, ballistic knife, any other knife regardless of
the length of the blade, box cutter, straight-edge razor, razor blade, spring stick, metal
knucks, blackjack, or any flailing instrument which may be known as a nun chahka, nun
chuck, nunchaku, shuriken, or fighting chain, or any disc, of whatever configuration, which is
designed to be thrown or propelled and which may be known as a throwing star or oriental __
dart, or mace or pepper gas, or any other object which may be used to injure or harm
another.

4.02 Replica of Dangerous Instruments, or Explosive Compounds - No student shall possess, handle,
carry or have under his/her contro! any replica of weapons or explosive compounds
described in 4.01.

 

OFFENSES INVOLVING DRUGS, ALCOHOL AND TOBACCO

5.01 Possession of Drugs or Alcohol (Mandatory Hearing Offense) - A student shall not
have, possess, handle, carry or exercise control over or transmit any controlled substance or
dangerous drug prohibited by Georgia law to include but not limited to marijuana, cocaine,
amphetamine, barbiturate or alcoholic beverages of any kind; nor shall a student have,
possess, carry, handle or exercise contro! over or transmit marijuana, synthetic marijuana,

 

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or any substance represented or thought to be controlled substance, dangerous drug, or
alcoholic beverage.

5.02 Sale of Drugs or Alcohol (Mandatory Hearing Offense) - A student shall not sell or
attempt to sell or buy or attempt to buy any controlled substance or dangerous drug
prohibited by Georgia law or substances represented or thought to be drugs or alcoholic
beverages of any kind.

5.03 Use of Drugs or Aleohol (Mandatory Hearing Offense) - A student shall not use or be
under the influence of any alcoholic beverage of any kind, controlled substance or dangerous
drug prohibited by Georgia law or any drugs except by a prescription from a physician for a
specific medical condition.

5.04 Possession or Use of Tobacco Products - No student shall have, handle, possess, carry or
exercise control over or use tobacco products of any nature, including but not limited to
cigars, cigarettes, snuff, chewing tobacco, pipe tobacco, or electronic cigarettes.

possess, carry or exercise control over a drug related object. A drug related object means
any machine, instrument, tool, equipment, contrivance, or device which an average person
would reasonably conclude is intended to be used for one or more of the following purposes:
(1) To introduce into the human body any dangerous drug or controlled substance under
circumstances in violation of the laws of this state; (2) To enhance the effect on the human
body of any dangerous drug or controlled substance under circumstances in violation of the
laws of this state; (3) To conceal any quantity of any dangerous drug or controlled substance
under circumstances in violation of the laws of this state; or (4) To test the strength,
effectiveness, or purity of any dangerous drug or controlled substance under circumstances
in violation of the laws of this state.

OFFENSES INVOLVING FALSE INFORMATION

6.01 False Statement - A student to whom a request has been made by a school official to
provide information regarding any school related matter commits the offense of furnishing a
false statement when he/she, knowingly and willfully, makes a false statement, whether
orally or in writing.

6.02 Perjury - A student to whom a lawful oath or affirmation has been administered
commits the offense of perjury when, in a student disciplinary proceeding, he/she knowingly
and willfully makes a false statement material to the issue or point in question.

6.03 Forgery - A student commits the offense of forgery when he/she knowingly makes,
alters, or possesses any school related writing, record, or document in a fictitious name or in
such manner that the writing, record or document as made or altered purports to have been
made by another person, or at another time with different provisions, or by authority of one
who did not give such authority.

OFFENSES INVOLVING SCHOOL ORDER

7.01 Threats and Intimidation - A student commits the offense of threats and intimidation when
he/she by words, verbal or written or by physical action (1) threatens to commit any act of

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violence against another; (2) causes another to fear for his or her safety; or (3) threatens to
burn or damage a school building, school facility or bus or causes the evacuation thereof.

7.02 Riot (Mandatory Hearing Offense) - Any two or more students commit the offense of
riot when they do an unlawful act of violence or any other act in a violent and tumultuous
manner.

7.03 Inciting to Riot (Mandatory Hearing Offense) - A student commits the offense of
inciting to riot when, with intent to riot, he/she does an act or engages in conduct which
urges, counsels, or advises others to riot, at a time and place and under circumstances

which produce a clear and present danger of a riot.

7.04 Preventing or Disrupting Gatherings - A student shall not recklessly or knowingly commit
any act which may reasonably be expected to prevent or disrupt a school meeting,
gathering, procession or assembly.

7.05 False Report of a Crime - A student shall not willfully or knowingly give or cause a false
report of a crime to be given to any law enforcement officer or school official.

7.06 False Report of a Fire (Mandatory Hearing Offense) - A student shall not transmit in
any manner to a fire department, a false report of a fire, knowing at the time that there is
no reasonable ground for believing that such fire exists.

7.07 False Public Alarm (Mandatory Hearing Offense) - A student who transmits in any
manner a false alarm to the effect that a bomb or other explosive of any nature is concealed
in such place that its explosion would endanger human life, knowing at the time that there is
no reasonable ground for believing that such a bomb or explosive is concealed in such place,
commits the offense of transmitting a false public alarm.

7.08 Refusal to Obey a School Official - A student shall not refuse to obey the directions,
requests or orders of a school official.

7.09 Influencing Witnesses (Mandatory Hearing Offense) - A student shall not with intent to
deter a witness from testifying freely, fully, and truthfully to any matter pending in any
disciplinary or in any administrative proceeding, communicate directly or indirectly, to such
witness any threat of injury or damage to the person, property or employment of any
relative of the witness or who offers or delivers any benefit, reward, or consideration to such
witness or to a relative of the witness.

7.10 Participation in Gang Activity (Mandatory Hearing Offense) - No student shall actively
participate in any street gang with knowledge that its members engage in or have engaged
in a pattern of gang activity and who willfully promotes, furthers, or assists in any criminal
conduct or violation of school! rules, or represents himself or herself as being a gang
member.

7.11 Threat of Physical Violence to School Personnel (Mandatory Hearing Offense) - No student
shall offer to commit or threaten to commit any act of physical violence against any teacher,
administrator, other school personnel employee or bus driver employed by the Troup County
Board of Education.

OFFENSES INVOLVING DAMAGE TO PROPERTY

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8.01 Damage to School Property - A student commits the offense of damage to school property
when he/she destroys, damages, marks or defaces school property. School property shall
include, but not be limited to text books, library books, reference materials, desks, lockers,
athletic equipment, school buses and school facilities.

8.02 Damage to Private Property - A student shall not damage, destroy, mark or deface the
personal property of other students, school personnel or any person legitimately on school
grounds or attending a schoo! function.

8.03 Unauthorized Entry - A student commits the offense of unauthorized entry when he/she
knowingly and without authority enters the locker or desk of another person or into any part
of any vehicle for an unlawful purpose.

OFFENSES INVOLVING ATTEMPT, SOLICITATION AND CONSPIRACY

9.01 Party to an Offense - Every student concerned in the commission of an offense of the
Student Behavior Code is a party thereto and may be charged with the offense. A student is
concerned in the commission of an offense only if he/she: (1) Directly commits the offense;
(2) Intentionally causes some other person to commit the crime under such circumstances
that the other person is not guilty of any offense in fact; (3) Intentionally aids or abets in the
commission of the offense; or (4) Intentionally advises, encourages, hires, counsels, or
procures another to commit the offense.

9.02 Attempt - A student commits the offense of attempt when, with intent to commit a
specific offense, he/she performs any act which constitutes a substantial step toward the
commission of that offense.

9.03 Solicitation - A student commits the offense of solicitation when, he/she solicits,
requests, commands, importunes, or otherwise attempts to cause the other person to
engage in conduct which would constitute an offense under or which would be a violation of
the Troup County School District Behavior Code.

9.04 Conspiracy - A student commits the offense of conspiracy when he/she together with
one or more persons conspires to commit any offense and any one or more of such persons
does any overt act to affect the object of the conspiracy.

OFFENSES INVOLVING ACADEMIC ACHIEVEMENT

10.01 Academic Achievement - A student shall make a reasonable effort toward academic
achievement and progress. Refusal or failure to make a reasonable effort toward academic
achievement and progress shall constitute an offense hereunder.

10.02 Completion of Assignments - A student shall complete all classes and homework
assignments. Continued or repeated refusal or failure to complete such class or homework
assignments shall constitute an offense hereunder.

 

10.03 Disruptive Conduct - No student shall conduct himself or behave in any manner which
is disruptive to the orderly educational process in a classroom or other instructional setting.

10.04 Cheating - A student shall not cheat on tests, examinations, projects, homework or
reports by giving or receiving unauthorized assistance.

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10.05 Unexcused Absence and Tardiness - A student shall not be unlawfully absent from school,
cut or skip any class, be tardy or leave the school during the school day without permission
from a school official. Students must comply with compulsory attendance as required under
O.C.G.A. Section 20-2-609.1 which requires that students between the age of six and
sixteen must be enrolled and attend a public school, private school, or home student
program.

OFFENSES INVOLVING COMMUNICATION WITH OTHERS

11.01 Rude or Disrespectful Behavior - A student shall at all times show respect for all school
officials and shall not talk back to, argue with, or in any manner, whether by tone or voice,
action or use of words, be disrespectful to a school official.

11.02 Use of Profane or Obscene Language - No student shall use profane, vulgar or obscene
words, gestures or other actions to any other student or school personnel or any person __
legitimately on school grounds or attending a school function.

OFFENSES INVOLVING MISCELLANEOUS MATTERS

12.01 Inappropriate Display of Affection - A student shall not engage in any inappropriate
display of affection with another student to include but not limited to holding hands, kissing
or embracing.

12.02 Criminal Conduct - A student shall not violate any of the criminal laws of the State of
Georgia, not otherwise defined in this Disciplinary Code.

12.03 Electronic Devices - No student shall use an electronic communication device, to include
a cell phone during the regular school day except as may be provided for by the student
handbook.

12.04 Gambling - No student shall gamble or solicit others to gamble. Gambling shall include
but not be limited to betting on any event, shooting dice, matching, or playing poker or
other games of chance. No student shall solicit, offer to buy, sell, trade or arrange for the
purchase of lottery tickets sold by the State of Georgia.

12.05 Other Conduct - Any conduct not specifically provided for herein which operates to the
prejudice of the good order and discipline of the schools of Troup County shall constitute an
offense hereunder for which disciplinary action may be taken.

12.06 Other Policies - Violation of any other policies of the Troup County Board of Education
shall constitute an offense hereunder for which disciplinary action may be taken.

12.07 Disruption of Educational Climate - A student who has been arrested, charged, or
convicted of a felony, whether as a juvenile or an adult, or arrested, charged, or convicted of
a violation of the Georgia Controlled Substances Act and whose continued presence at school
is reasonably certain to endanger other students or school officials or to cause a substantial
disruption to the educational climate may be disciplined hereunder.

12.08 Outside Conduct - A student who commits any act or exhibits conduct outside of school
hours or away from school which may adversely affect the educational process or endanger

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the health, property, safety, morals, or well-being of other students, teachers, or
employees within the school system may be disciplined hereunder.

12.09 Chronic Misbehavior - A student commits the offense of chronic misbehavior when
he/she engages in repeated, continued or habitual acts of misconduct which acts, when
considered together (a) are reflective of a defiance of school authority, (b) significantly
interfere with the learning opportunities of fellow students, or (c) are indicative of an
abandonment or disregard of educational opportunities available to the student. Willful and
persistent violations of the Troup County School District Student Behavior Code may be
disciplined hereunder.

12.10 Reckless Conduct - A student commits the offense of reckless conduct when he/she
causes bodily harm or endangers the physical safety or the health of another by disregarding
a substantial or unjustifiable risk that the student’s conduct will cause harm or endanger
another. Such reckless conduct includes but is not limited to such conduct as throwing
objects, propelling objects with a rubber band, spitting, transmitting bodily fluids or
excessive horseplay.

12.11 Violation of Probation — A student who has been placed on probation by a disciplinary
decision and violates the terms of such probation may be disciplined hereunder for such
violation.

OFFENSES INVOLVING SCHOOL TEACHERS, ADMINISTRATORS, OTHER SCHOOL
PERSONNEL AND BUS DRIVERS

13.01 Physical Violence of an Insulting or Provoking Nature to School Personnel (Mandatory
Hearing Offense) - No student shall commit any act of physical violence against any
teacher, administrator, other school personnel employee or bus driver employed by the
Troup County Board of Education. Physical violence in this offense is defined as intentionally
making physical contact in an insulting or provoking nature with the person of a teacher,
administrator, school employee or bus driver.

 

13.02 Physical Violence Causing Physical Harm to School Personnel (Mandatory Hearing Offense)
- No student shall commit any act of physical violence against any teacher, administrator,
other school personnel employee or bus driver employed by the Troup County Board of
Education. Physica! violence in this offense is defined as intentionally making physical
contact which causes physical harm to another unless such physica! contact or harm were in
defense of himself or herself.

OFFENSES INVOLVING BUS CONDUCT

No student shall commit any violation of any of the offenses contained in the Student
Behavior Code specified on a public school bus to include, but not limited to, assault, simple
assault, aggravated assault, simple battery, aggravated battery, bullying, verbal assault or
disrespectful conduct toward the school bus driver. In addition thereto the following
offenses shall apply to school buses:

14.01. Electronic Devices - No student shall use an electronic device during the operation of
the school bus including, but not limited to, cell phones, pagers, audible radios, tape or
compact disk without headphones, or any other electronic device that does or could interfere

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with the school bus communications equipment or the operation of the school bus by the
school bus driver.

14.02 Use of Reflective Devices - No student shall use a mirror, laser, flash camera or any
other lights or reflective devices on a public school bus in a manner that does or could
interfere with the operation of the school bus by the school bus driver.

OFFENSES INVOLVING SEXUAL MISCONDUCT

15.01 Sexual Harassment (Mandatory Hearing Offense) - A student commits sexual
harassment when he/she engages in unwelcome and/or uninvited sexual conduct that
creates an uncomfortable environment for a student.

Sexual harassment may include, but not limited to, unwelcome sexual advances, touching of
a sexual nature, graffiti of a sexual picture, displaying or distributing of sexually explicit,
drawings, pictures and written materials, sexual gestures, sexual or “dirty” jokes, pressure
for sexual favors, touching oneself sexually or talking about one’s sexual activity in front of
others, spreading rumors about or rating other students as to sexual activity or
performance, pinching, hugging, cornering, and kissing or as defined by Title X of the
Education Amendment of 1972.

15.02 Sexual Battery (Mandatory Hearing Offense) - A student commits the offense of sexual
battery when he/she intentionally or inappropriately makes physical contact with the
intimate parts of the body of another person regardless of the consent of that person. The
term “intimate parts” means the primary genital area, anus, groin, inner thighs, or buttocks
of a male or female and the breasts of a female.

15.03 Sexual Propositions - No student shall make written, verbal or physical propositions,
suggestions or invitations to another student to engage in sexual acts of any nature.

15.04 Public Indecency (Mandatory Hearing Offense) - A student commits the offense of
public indecency when he/she performs any of the following acts: (i) a lewd exposure of the
sexual organs or genital area; a lewd appearance in a state of partial or complete nudity; or
any act suggestive of sexual relations.

15.05 Sexually Explicit Material - A student shall not possess, handle, exercise control over,
transmit, exhibit to other students, sell, attempt to sell, buy or attempt to buy (a) any
sexually explicit photographs or other material which shows, depicts or represents any
person, whether male or female, in a partial or total state of nudity; or (b) any photographs
or other material which is lewd, obscene or sexually suggestive in nature.

15.06 Sexual Relations (Mandatory Hearing Offense) - A student shall not engage in any
act of oral sex, sexual intercourse, sodomy or any other sexual act with another person
regardless of the consent of that person; and no student shall engage in any act of
masturbation, or commit any act of physical sexual assault to include rape or child
molestation.

D. VIOLATIONS OF STUDENT BEHAVIOR CODE - All violations of the Student Behavior
Code shall be processed in accordance with Troup County Board of Education Policies JCDA
(1) - Disciplinary Protocol and Procedure; JCEB - Student Hearing Procedure; and any other
applicable policies or administrative regulations.

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STUDENT SERVICES CENTER

100 North Davis Road, Building C © LaGrange, Georgia 30241
Jacqueline Jones, EdD, Director of Student Services/Special Progranis
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e-mail: fonesjel@troup.org — wivw.troup.org

 

Troup County School System

 

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DECISION OF DISCIPLINARY HEARING TRIBUNAL

Tuesday, December 18, 2018, 10:00 a.m.

wa | LaGrange High School(R)
Psi
Sa DO): as
Telephone / iii Case # 016-46636-1

The matter of | having been brought before the undersigned Disciplinary Hearing Tribunal of
the Troup County Board of Education, LaGrange, Georgia, pursuant to charges made by Mr. Alton White,
Principal, LaGrange High School, in his letter dated December 12, 2018 addressed to the student and his
parent/guardian, Sara Ford, a copy of the letter having been delivered to the student and his parent/guardian,

It appearing that ae age 16-years old and a 10"" grade student at LaGrange High School, was
charged by Mr. Alton White with violating Troup County Board of Education Policy JCDA STUDENT
BEHAVIOR CODE AND DISCIPLINARY PROTOCOL Regulation JCDA, 7.10 (1 count).

‘t further appearing that [eer and his parent/guardian, Sara Ford, were personally notified of the
nature of the charges, the names of the witnesses and a summary of the evidence together with the time, date,
and place of the hearing scheduled for Tuesday, December 18, 2018 at 10:00 a.m, in the Hearing Room of the
Troup County Schools’ Student Services Center, 200 Mooty Bridge Road; LaGrange, GA 30240, which letter
notified them of their right to be represented by counsel, their right to have compulsory process, and which
delivered to them a copy of the Troup County Board of Education policy governing the procedure for the
hearing.

It further appearing to the Hearing Tribunal that at the time, date, and place for the hearing that [Sree
and his parent/guardian, Deshae Ford, were present and did participate. The following were sworn as
witnesses and presented evidence for the Board of Education to wit: Jeff Little, Assistant Principal at LaGrange
High School, Jarrod Anderson, Investigator with the Gang Force of the LaGrange Police Department, and Lane

Hamer, School Resource Officer at LaGrange High School.

EXHIBIT

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“Ts About Learning.”
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ae Sai
December 18, 2018
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Let the record show that [EEE plead not guilty to 7.10 (Participation in Gang
Activity).

Therefore, after having considered the evidence presented at the hearing, the Disciplinary
Hearing Tribunal does hereby find and conclude:

1. 2. 1 6-year old 10" grade student at LaGrange High School, did
commit the offense of Participation in Gang Activity, on or about Friday, December 7,
2018 at approximately 11:49 a.m. when he was observed by Officer Hamer, the School
Resource Officer, posing for a number of pictures, He appeared to be making hand
gestures consistent with those representing a gang. Video was reviewed by administrator
and confirmed he was making several hand signs. The video was analyzed by LaGrange
Police Department Gang Task Force and confirmed these hand gestures as gang related.
The pictures were acquired from the photographer and will be presented as evidence.
Police report mentioned your Facebook account, and administrators found additional
pictures that appear to be consistent with gang representation which are further submitted

as evidence.

According to Troup County Board of Education Policy, JCDA Student Behavior Code and
Disciplinary Protocol, JCDA 7.10 (1 count), 3 was in violation of the policies
which prohibit:

7.10 Participation in Gang Activity (Mandatory Hearing Offense)
No student shall actively participate in any gang with knowledge that its members engage
in or have engaged in a pattern of gang activity and who willfully promotes, furthers, or
assists in any criminal conduct or violation of school rules.

The undersigned Disciplinary Hearing Tribunal members are duly appointed by the school
system generally for the purpose of conducting disciplinary hearings. i is
therefore subject to and may be disciplined by the Disciplinary Hearing Tribunal in accordance
with the law and pursuant to their designation as Hearing Tribunal members.

The Disciplinary Tribunal does hereby determine and decide that based on the sworn testimony,
and evidence presented in the matter at the hearing held on Tuesday, December 18, 2018,
GE, 2 student of LaGrange High School, did while a student of the Troup County
School System violate policies specified above and as a result thereof:
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ES S=SSSSSS3
December 18, 2018

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ES be and he is hereby disciplined as follows:

1. RG is assigned to The HOPE Academy for the remainder of the
2018-2019 school year. TT and his parent/guardian must
contact the Principal of The HOPE Academy at 706-812-7988 on or before
Wednesday, December 19, 2018 to schedule a pre-entry conference.

2. While assigned to The HOPE Academy, ---- may not attend or
participate in any curricular or extra-curricular activities sponsored by LaGrange
High School or the Troup County School System.

3. EE wil! be eligible to return to his zoned school upon his completion of
his assignment to The HOPE Academy and with a favorable recommendation from the
principal and faculty of The HOPE Academy.

co: [D student
Sara Ford, parent/guardian
Alton White, Principal, LaGrange High School
Jeff Little, Assistant Principal, LaGrange High School
Gail Rowe, Records Clerk, LaGrange High School
Jason Yohn, Principal, The HOPE Academy
Lana Clary, Records Clerk, The HOPE Academy
Jacqueline Jones, Director of Student Services

(In accordance with the Troup County Board of Education Policies “any decision by such a
Disciplinary Hearing Tribunal may be appealed to the Board of Education by filing a
written notice of appeal within twenty (20) calendar days from the date the decision is
rendered.” The Board of Education’s Office is located at 100 North Davis Road,
LaGrange, Georgia 30240. Telephone inquiries should be forwarded to (706) 812-7900).
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ESOS STUDENT SERVICES CENTER
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Jacqueline Jones, EdD, Director of Student Services/Special Programs

Office: 706-812-7900 © Fax; 706-883-1530
e-mail: jonesje@troup. ore ae, froup. org

STUDENT: i

SCHOOL: LaGrange High School

 

DATE: Tuesday. December 18. 2018
TIME: 10:00 a.m.

THIS _ 18" DAY OF December 2018

MW ag we Sun phen

Margarette/} ulian
CHAIRPIERSON

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Gp.
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PANEL MEMBER

 

/ LMT IAE
Yvofine Parker
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“H's About Learning,”
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Policy JCEB: Student Hearing Procedure Troup County Schools
Original Adopted Date: 11/18/2010 | Last Revised Date: 07/17/2014 Status: ADOPTED

Scope of Hearings: The Board of Education is authorized by 0.C.G.A. §20-2-752 to
establish disciplinary hearing officers, panels, or tribunals of school officials to impose
suspension of longer than ten (10) school days or expulsion or assignment to an
alternative education program.

For the purpose of conducting certain student discipline hearings, as defined below,
rendering a decision and imposing punishment, the Board of Education hereby adopts
the following procedures:

1. Disciplinary Hearing: A disciplinary hearing shall be convened and conducted in the
following cases:

a. Whena student has committed an alleged assault or battery upon a teacher,
other school official or employee, if such teacher or other school official or
employee so requests;

b. Whena student has violated any school or system rule or engaged in any other
act of misconduct or insubordination for which the student's principal
recommends a suspension longer than ten school days or expulsion.

c. Whena student has committed a mandatory hearing offense under the Student Behavior
Code.

2. Appointment of Hearing Officer or Tribunal: All disciplinary hearings shall be
conducted and heard by a sole hearing officer appointed by the Board of
Education. The Board of Education shall appoint more than one hearing officer to
serve in such capacity. The hearing officer shall be a current or former educator
employed by the Board of Education.

A student, the student's parent or guardian, or the school principal may request
that the hearing be conducted by a disciplinary tribunal. In such case, the tribunal
shall consist of three current or former educators employed by the Board of
Education to serve on any tribunal. No member of the hearing tribunal shall be a
member of the staff at the school which the student attends or a member of the
general public.

A. Notice of Hearing: Whenever a principal or his or her designee refers a student discipline
matter for a disciplinary hearing the principal or his or her designee shall send a letter
by regular mail to the student and his or her parents or guardians containing a
statement of the time, place and nature of the hearing, a short and plain statement of
the matters asserted and charges against the student, a list of potential witnesses, a
statement setting forth the right of the student to present evidence, cross-examine
witnesses and be represented by legal counsel. The hearing must be held no later than
ten school days after the beginning of the pre-hearing placement or following the
referral for a disciplinary hearing if the student is not placed in pre-hearing placement.

EXHIBIT

  

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B. Pre-Hearing Placement: A student charged and referred for a disciplinary hearing
may be placed in pre-hearing placement pending the hearing, which pre-hearing
placement shall consist as follows:

a. Out-of-school suspension for not longer than ten school days during which time the
disciplinary hearing shall be held unless the school system and the parent or guardian
mutually agree to an extension of the out-of-school suspension

b. In-school suspension for not longer than ten days during which time the disciplinary
hearing shall be held; provided, however, the time for a hearing for a student who is
placed in-school suspension pending the hearing may be extended upon the mutual
agreement of the school system and the parent or guardian, or upon the existence of
good cause only for hearing schedule delays or backlogs, state mandated testing, or
other exigent educationally related reasons.

c. Any such pre-hearing placement shall not be deemed to be or considered as
punishment but a placement pending the hearing separating the student from the
general school population for severity of the offense, safety, or security reasons.

4, Presentation of Evidence: The school principal or his or her designee shall be
responsible for presenting evidence in support of the charges against the student
and all parties shall be afforded an opportunity to present and respond to evidence
and to examine and cross-examine witnesses on any and all issues. Any teacher
who is called as a witness by the school system shall be given notice no later than
three days prior to the hearing. The hearing tribunal shall have made a verbatim
electronic or written record of the hearing. This record shall be available to all
parties but the cost of transcribing such record shall be borne by the party
requesting the transcript.

5. Decision of the Hearing Officer or Tribunal: The hearing officer or tribunal shall
render a decision finding whether the student committed the offense and, if so,
the appropriate punishment. The decision of the hearing tribunal shall be based
solely on the evidence received at the hearing, including any evidence presented
by either party relevant to the appropriate punishment to be imposed. The
hearing officer or tribunal shall render its decision in writing within ten days of the
close of the record and shall furnish a copy of the decision to the student, his or
her parents or legal guardians, the principal or his or her designee and the
Superintendent. The decision of the hearing tribunal shall be final and shall
constitute the decision of the Board of Education unless either party should appeal
the decision to the Board of Education. The school representative shall make a
recommendation for punishment.

In cases involving physical violence against school employees under O.C.G.A. 20-2-
751.6, the disciplinary officer, panel, or tribunal shall determine what, if any, disciplinary
action shall be taken, for offenses other than acts of physical violence against a teacher,
school bus driver, school official or other school employee, and shall render its decision in
writing. In such cases in alleging violence against school personnel, the hearing officer or
tribunal is authorized to determine all issues of fact and intent and submit its findings and
recommendations to the Board of Education for imposition of punishment. The written
decision of the officer, panel or tribunal shall be given to all parties within ten (10) days
of the close of the record. The Board of Education shall set the punishment based on the
recommendation of the hearing officer or tribunal.

6. Waiver of Disciplinary Hearing: In the event a student or his/her parent does not
wish to contest the charge(s) of violation(s) of the discipline rules of the school's
code of conduct for which a hearing has been convened, the student and parent

 

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may voluntarily accept the consequences prescribed by the school by signing a
Waiver of Disciplinary Hearing form. Such waiver shall specify the rule violation,
the date and description of the incident, the prescribed consequences, and an
agreement to waive the opportunity to participate in a tribunal hearing, present
evidence, cross examine witnesses, and be represented by an attorney. The
decision to waive the hearing shall be final and cannot be appealed by the school
or family. The waiver must be signed by the student, a parent, a school
administrator and the Superintendent to approve or reject the disciplinary
consequences set forth in the waiver. If the consequences are rejected by the
Superintendent, the disciplinary hearing shall proceed.

7. Appeal; Any decision by such disciplinary officer, panel, or tribunal may be
appealed to the local Board of Education by filing a written notice of appeal within
twenty (20) days from the date the decision is rendered. Any disciplinary action
imposed by such officer, panel, or tribunal may be stayed by the Superintendent
of Schools pending the outcome of the appeal. In the case of a student charged
with an act of physical violence against school personnel, the tribunal’s
recommendation as to the punishment shall be automatically referred to the Board
of Education in accordance with Section 5 above.

8, Review by the Board of Education: Upon appeal, the Board of Education shall review
the record of the hearing before the hearing tribunal, the decision of the hearing
tribunal and the notice of appeal and shall render its decision in writing within ten
(10) days, excluding weekends and legal holidays, from the date it receives the
notice of appeal. The decision of the Board of Education shall be based solely on
the record before the hearing tribunal and the Board shall not consider any other
evidence in ruling on the appeal. The Board may find the facts to be different than
those found by the hearing tribunal and the Board may change the punishment, in
accordance with state law. The Board may take any action it determines to be
appropriate, and all parties shall have the right to be represented by legal counsel
at any such appeal during all subsequent proceedings.

9. Appeal from Decision of Board of Education: Any party aggrieved by a decision of the
Board of Education rendered on a contested issue after a hearing as set forth
herein, shall have the right to appeal there from to the State Board of Education.
Any decision of the local Board may be appealed to the State Board of Education
by filing an appeal, in writing, within thirty (30) days after the local Board renders
its decision. The provisions of subsections (b) through (f) of O.C.G.A. 20-2-1160
shall apply to all appeals to the State Board of Education.

10. Applicability of Public Inspection and Open Meeting Laws: All disciplinary hearings
referred to herein shall be closed to the public. The Board of Education may
prepare a written summary of any proceeding under these rules, which summary
shall include a description of the incident and the disposition thereof but shall not
contain the names of any party to the incident. This summary shall be a public
record.

11. Student Withdrawal: Any student subject to a disciplinary hearing who withdraws
from the school system prior to the hearing must appear before a Disciplinary
Hearing to determine the student's eligibility to return to the school system in the
event the student ever seeks to return to the system. Alternatively, the school
district may, in its discretion, proceed with the tribunal in accordance with Board
policy despite the student's withdrawal from school.

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STUDENT SERVICES CENTER
100 North Davis Road, Building C » LaGrange, Georgia 30241

  

oS EE

7 - - Jacquetine Jones, EdD, Director af Stident Services/Special Programs
Troup County School System Office: 706-812-7900 © Fax: 706-883-1530

e-mail: jonesje@troyp.ove — wavw, traup.org

 

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DECISION OF DISCIPLINARY HEARING TRIBUNAL

Wednesday, September 4, 2019. 10:00 a.m.

Re il LaGrange High School(R)
[ae
re DOB:
Telephone } (iii Case # 003-46636-2

The matter of I having been brought before the undersigned Disciplinary Hearing Tribunal of
the Troup County Board of Education, LaGrange, Georgia, pursuant to charges made by Mr. Alton White,
Principal, LaGrange High School, in his letter dated August 21, 2019, as amended, addressed to the student and
his parent/guardian, Sara Ford, a copy of the letter having been delivered to the student and his parent/guardian.

It appearing that [age 17-years old and an 11"" grade student at LaGrange High School, was
charged by Mr, Alton White with violating Troup County Board of Education Policy JODA STUDENT
BEHAVIOR CODE AND DISCIPLINARY PROTOCOL Regulation JCDA, 7.10 and 12.08 (1 count each).

It further appearing that [EE and his parent/guardian, Sara Ford, were personally notified of the
nature of the charges, the names of the witnesses and a summary of the evidence together with the time, date,
and place of the hearing scheduled for Wednesday, September 4, 2019 at 10:00 a.m, in the Hearing Room of the
Troup County Schools Administrative Services Center, 100 North Davis Road, Building C, LaGrange, GA
30241, which letter notified them of their right to be represented by counsel, their right to have compulsory
process, and which delivered to them a copy of the Troup County Board of Education policy governing the
procedure for the hearing.

It further appearing to the Hearing Tribunal that at the time, date, and place for the hearing that [I
BB and his mother, Deshae Ford, were present for the hearing. pee plead not guilty to 7.10
(Participation in Gang Activity) and 12.08 (Outside Conduct). The Student was represented by Homero
Leon of the Georgia Legal Services Program.

The following were sworn as witnesses and presented evidence for the Board of Education to wit: Alton White,
Principal, LaGrange High School; Jamie Bozeman, Assistant Principal, LaGrange High School; Lane Hamer,
School Resource Officer; and Jarrod Anderson, Detective, LaGrange Police Department.

Deshae Ford was sworn in and testified [or i). The studcnt, i, lid not

testify.

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September 4, 2019

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Therefore, after having considered the evidence presented at the hearing, the Disciplinary
Hearing Tribunal does hereby find and conclude:

1, 2 17-year old 11" grade student at LaGrange High School, did
commit the offense of Participation in Gang Activity, in a video published to YouTube
on or about Saturday, July 13, 2019. In this video, he was seen doing handshakes and
signs that appear to be gang related. During the week of July 15", LaGrange High School
Administration contacted a member of the Special Investigations Unit of the LaGrange
Police Department who identified them as gang handshakes and signs. On Wednesday,
August 14, 2019, and Friday, August 16, 2019, LaGrange High School administrators
met with a representative of the Special Investigation Unit of the LaGrange Police
Department (LPD) who again identified the specific signs as gang related.

2. EE, 2 16-year old 10" grade student at LaGrange High School, did
commit the offense of Other Conduct, in a video published to YouTube on or about
Saturday, July 13, 2019. The video depicted him using several signs and handshakes that
were identified by a representative of the Special Investigation Unit of the LaGrange
Police Department as gang related, and also in possession of a handgun that was
identified by a member of the Special Investigation Unit of the LaGrange Police
Department as having the appearance of a real handgun. LaGrange High School
administrators met with a representative of the Special Investigation Unit of the
LaGrange Police Department on Wednesday, August 14, 2019, and Friday, August 16,
2019, who identified the gang signs and could not state the handgun was definitively a
replica based on physical characteristics.

According to Troup County Board of Education Policy, JCDA Student Behavior Code and
Disciplinary Protocol, JCDA 7.10 and 12.08 (1 count cach), i was in
violation of the policies which prohibit:

7.10 Participation in Gang Activity (Mandatory Hearing Offense)

No student shall actively participate in any gang with knowledge that its members engage in or
have engaged in a pattern of gang activity and who willfully promotes, furthers, or assists in any
criminal conduct or violation of school rules.

12.08 Outside Conduct

A student who commits any act or exhibits conduct outside of school hours or away from school,
which may adversely affect the educational process or endanger the health, property, safety,
morals, or well-being of other students, teachers, or employees within the school system may be
disciplined hereunder.

The undersigned Disciplinary Hearing Tribunal members are duly appointed by the school
system generally for the purpose of conducting disciplinary hearings. Mr. Greg Ellington, an
attorney, served as the hearing officer. ,
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EE is therefore subject to and may be disciplined by the Disciplinary Hearing
Tribunal in accordance with the law and pursuant to their designation as Hearing Tribunal
members.

The Disciplinary Tribunal does hereby determine and decide that based on the sworn testimony,
and evidence presented in the matter at the hearing held on Wednesday, September 4, 2019,
EEE, a student of LaGrange High School, did while a student of the Troup
County School System violate policies specified above and as a result thereof:

ee be and he is hereby disciplined as follows:

1, ER is expelled from LaGrange High School and the Troup County
School! System for the remainder of the 1%! semester of the 2019-2020 school year.

2. While expelled, SG) may not attend or participate in any curricular
or extra-curricular activities sponsored by LaGrange High School or the Troup

County School System.

3, EE is assigned to The HOPE Academy for the 2" semester of the
2019-2020 school year. iS and his parent/guardian must
contact the Principal of The HOPE Academy at 706-812-7988 on or before
Monday, December 17, 2019 to schedule a pre-entry conference.

4. While assigned to The HOPE Academy, EEE may not attend or
participate in any curricular or extra-curricular activities sponsored by LaGrange
High School or the Troup County School System.

5. EE wil! be eligible to return to his zoned school upon completion
of his assignment to The HOPE Academy, and with a favorable recommendation
from the principal and staff of The HOPE Academy.

cc: i student
Deshae Ford, Parents/Guardian
Alton White, Principal, LaGrange High School
Jamie Bozeman, Assistant Principal, LaGrange High School
Gail Rowe, Records Clerk, LaGrange High School
Jason Yohn, Principal, The HOPE Academy
Lana Clary, Records Clerk, The HOPE Academy
Jacqueline Jones, Director of Student Services

(In accordance with the Troup County Board of Education Policies “any decision by such a
Disciplinary Hearing Tribunal may be appealed to the Board of Education by filing a
written notice of appeal within twenty (20) calendar days from the date the decision is
rendered.” The Board of Education’s Office is located at 100 North Davis Road,
LaGrange, Georgia 30240. Telephone inquiries should be forwarded to (706) 812-7900).
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Jacqueline Jones, EdD, Directar of Shtdent Services/Special Programs

Office: 706-812-7900 @ Fax: 706-883-1530
e-mail: jonesje@troup.org — wwe. troup.org

 

 

 

STUDENT: i
SCHOOL: LaGrange High School

DATE: Wednesday, September 4, 2019
TIME: 10:00 a.m.

THIS _ 4th DAY OF_ September 2019

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Greg Bilingl at
CHAIRPERSON

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June Né¢Json
PANEL MEMBER

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Lucy F sy fiaat_
EL MEMBER

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Majorie Beetles
PANEL MEMBER

F's About Learning,”
